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 6                                    UNITED STATES DISTRICT COURT
 7                                            DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                             )
                                                         )
 9                  Plaintiff,                           )
                                                         )
10           v.                                          ) 2:10-CR-356-LDG-(VCF)
                                                         )
11 JEANNIE SUTHERLAND,                                   )
                                                         )
12                  Defendant.                           )
13                          THIRD SUBSTITUTION AND FORFEITURE ORDER
14           This Court, having read and considered the Government’s Third Motion to Substitute and to Forfeit

15 Property of Jeannie Sutherland, and good cause appearing, finds the asset described below is owned by

16 Jeannie Sutherland and that the property subject to criminal forfeiture (1) cannot be located upon the

17 exercise of due diligence; (2) has been transferred to a third party; and (3) has been substantially diminished

18 in value.

19           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the following asset is

20 substituted and is forfeited to the United States of America pursuant to 21 U.S.C. § 853(p):

21           $5,000 held in Ocwen Loan Servicing, LLC Escrow account #7190836374 for the real property

22 located at 5504 Whiteleaf Court, Las Vegas, NV 89149, APN 125-33-511-011 (“property”).

23           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United States of America

24 is now entitled to, and should, reduce the aforementioned property to the possession of the United States of

25 America;
26 / / /




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 1           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United States of

 2 America should take into custody the aforementioned property;

 3           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all right, title, and interest

 4 of Jeannie Sutherland in the aforementioned property is forfeited and is vested in the United States of

 5 America and shall be safely held by the United States of America until further order of the Court;

 6           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 7 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 8 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the
 9 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

10 name and contact information for the government attorney to be served with the petition, pursuant to

11 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

12           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

13 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate the

14 validity of the petitioner’s alleged interest in the property, which petition shall be signed by the petitioner

15 under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and Title 28, United

16 States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s right, title, or

17 interest in the forfeited property and any additional facts supporting the petitioner’s petition and the

18 relief sought.

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

20 filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later

21 than thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

22 after the first day of the publication on the official internet government forfeiture site,

23 www.forfeiture.gov.

24           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

25 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
26 following address at the time of filing:

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 1                  Daniel Hollingsworth
                    Assistant United States Attorney
 2                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
 3                  Las Vegas, Nevada 89101.
 4          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 5 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 6 following publication of notice of seizure and intent to administratively forfeit the above-described

 7 property.

 8                                    July
            DATED this ___ day of _______________, 2015.

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11                                                                 UNITED STATES DISTRICT JUDGE
12                                                                 LLOYD D. GEORGE

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